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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 22-3057                                                 September Term, 2023
                                                                    1:21-cr-00342-PLF-1
                                                       Filed On: February 21, 2024
United States of America,

              Appellee

       v.

Jeramiah Caplinger,

              Appellant


       BEFORE:        Henderson, Millett, and Walker, Circuit Judges

                                         ORDER

        Upon consideration of the motion to govern further proceedings and the
opposition thereto; and the renewed motion to vacate, the opposition thereto, and the
reply, it is

       ORDERED that appellant’s sentence be vacated and this case be remanded to
the district court for resentencing. See United States v. Little, 78 F.4th 453, 461 (D.C.
Cir. 2023).

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.


                                        Per Curiam
